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NOTE

August 27, 2006 Shawnee Mission Kansas
iDate} {City} {State}
1575 Northwest. 124th Street, orth Miami, FL 33176
{Property Address}

A. BORROWER'S PROMISE TO PAY

In return for a Joan thal I have received, ] promise to pay U.S. $ 178, 000.00 {this amount is called
“Principal”}, plus interest, to the order of the Lender. The Lender is IndyMac Bank, F. S.B., @
federally chartered savings bank | | will make all payments under this Note in the

form of cash, check or money order.
Lumderstand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitied to receive payments under this Note is called the “Note Holder.”

2, INTEREST

Interest will be charged on unpaid principal until the folk amount of Principal has been paid. 1 will pay interest ata
yearly rate of 7.975 %.

‘The interest rate required by this Section 2 is the rate 1 will pay both before and after any default described in
Section 6(8} of this Note.

3 PAYMENTS

(A) Time and Place of Payments

| will pay Principal and interest by making a payment every menth,

E will make my monthly payment on the ist day of each month beginning on October, 2006
] will make these payments every month until { have paid all of the Principal and interest and any ather charges described
below that T may owe under this Note. Each monthly payment will be applied as of its scheduled due date and wil) be
applied to interest before Principal. If, on Se nber 1, 2036 _ I still owe amounts under this Note, i will
pay those amounts in ull on that date, which is called the “Maturity Date.”

[will make my monthly payments at IndyMac Bank, F.5.B-, P.O. Box 78826, Phoenix,

AZ 85062-8826
or at a different place if required by the Note Holder.

(B)} Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 1,290.62

4, BORROWER'S RIGHT TO PREPAY

Lhave the right to make payments of Principal at any time before they are due. A payment of Principal only is
knewn as a “Prepayment.” When ! make a Prepayment, | will tell the Note Holder in writing that J am doing so. | may not
designate a payment as a Prepayment if} have not made all the monthly payments due under the Nate.

1 may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Helder will
use my Prepayments to reduce the amount of Principal that | owe under this Note. However, the Note Holder may apply my
Prepayment to the agerued and unpaid interest on the Prepayment amount, before applying my Prepayment to redace the
Principal amount of the Note. If 1 make a pastial Prepayment, there will be no changes in the due date or in the amount of my
monthly payment unless the Note Halder agrees in writing to those changes.

Tea NE ee a _____ _ MIN: —_

Florida Fixed Rate Note—Sinple Fanvily—Fannie MaefFreddie Mac UNIFORM INSTRUMENT Form 3220 6101

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5. LOAN CHARGES

If a law, which applies to this Ioan and which sets maximum foan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such
loan charge shall be reduced by the amount necessary to reduce the charge ta the permitted limit; and (b) any sums already
collected from me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund
by reducing the Principal | owe under this Note or by making a direct payment to me. if a refund reduces Principal, the
reduction will be treated as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A} Late Charge for Overdue Payments

Ifthe Note Holder has not received the full amount of any monthly payment by the end of 15 calendar
days after the date itis due, I will pay a late charge fo the Note Holder. The amount of the charge will be 5.000 %
of my averdue payment of Principal and interest. 1 will pay this late charge promptly but only once on each late payment.

{B) Defawit

if | do not pay the full amount of each monthly payment on the date it is due, | will be in default.

{C) Notice of Default :

If] am in default, the Note Holder may send me a written totice telling me that if 1 do not pay the overdue amouni
by acertain date, the Nate Holder may require me to pay immediately the full amount of Principal which has not been paid
and all the interest that [ owe on that amount. ‘That date nyust be at teast 30 days after the date on which the notice és mailed
to me or delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when | amin default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if 1am in default at a later Hime.

{E) Payment of Note Holder’s Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the
tight to be paid back by me for all of its costs and expenses in enforcing this Nate to the extent not prohibited by applicable
law. Those expenses inchide, for example, reasonable altorneys’ fees.

1 GIVING OF NOTICES
Unless applicable law requires a different method, any notice that must be given fo me under this Note will be given
by delivering it or by mailing it by first class mail to me at the Praperty Address above or at a different address if I give the
Note Holder a notice of my different address.
Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by
first class mail to the Note Holder at the address stated in Section 3(A} above or ata different address if | am given a notice
of that different address.

3. OBLIGATIONS OF PERSONS UNDER THIS NOTE

if more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety of endorser of
this Note is also obligated to do these things. Any person who takes over these obligations, including the obligations of a
guarantor, surety of endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder
inay enforce its rights under this Note against each person individually or against all of us together, This means that any one
of us may be required to pay all of the amounts owed under this Note.

9. WAIVERS

Land any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of Dishonor’ means
the right to require the Note Halder to give notice to other persons that amounts due have not been paid.

16. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given
to the Note Holder under this Noté, a Mortgage, Deed of Trust, or Security Deed (the “Security Instrument”), dated the same

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Florida Fixed Rate Note—Singie Family-—Fannie Mee} reaate sive UNIFORM INSTRUMENT Form 3210 OLAL
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date as this Note, protects the Note Holder [rom possible lasses which might result if | do nol keep the promises which |
make in this Note. That Security Instrument describes how and under what conditions 1 may be required to make immediate

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payment in full of all amounts { owe under this Nete. Some of those conditions are described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender’s prior written consent, Lender may require immediate payment in full of all sums secured by this
Security Instrument. However, this optian shall not be exercised by Lender if such exercise is prohibited

by Applicable Law.

If Lender exercises this eption, Lender shall give Borrower notice of acceleration, The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with Section
15 withig which Borrower must pay all sums secured by this Security instrument. If Borrower fails to pay
these sums prior to the expiration of this peried, Lender may invoke any remedies permitted by this

Security Instrument wilhout further notice or demand on Borrower.

, DOCUMENTARY TAX

The state documentary tax due on this Note has been paid on the mortgage scouring this indebtedness.

WITNESS THE HANDS AND SEALS OF THE UNDERSIGNED.

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Debra Sieh
Assistant Secreta
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